CM/ECF-GA Northern District Court                                 https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?956299780868854...
                         Case 1:17-cv-02989-AT Document 1779 Filed 01/10/24 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                    1:17-cv-02989-AT
                                            Curling et al v. Raffensperger et al
                                               Honorable Amy Totenberg

                                Minute Sheet for proceedings held In Open Court on 01/10/2024.


              TIME COURT COMMENCED: 09:30 A.M.
                                                                COURT REPORTER: Shannon Welch
              TIME COURT CONCLUDED: 05:45 P.M.
                                                                CSO/DUSM: 3 CSO's
              TIME IN COURT: 7:15
                                                                DEPUTY CLERK: Harry Martin
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Christian Andreu-von Euw representing Donna Curling
         PRESENT:                   Edward Bedard representing Brad Raffensperger
                                    Joshua Belinfante representing Brad Raffensperger
                                    Donald Boyle representing Brad Raffensperger
                                    Bruce Brown representing Coalition for Good Governance
                                    Benjamin Campbell representing Donna Price
                                    David Cross representing Donna Curling
                                    Alexander Denton representing Brad Raffensperger
                                    Ramsey Fisher representing Donna Curling
                                    Danielle Hernandez representing Brad Raffensperger
                                    Cary Ichter representing Coalition for Good Governance
                                    Bryan Jacoutot representing Brad Raffensperger
                                    Wail Jihadi representing Donna Curling
                                    Melanie Johnson representing Brad Raffensperger
                                    Mary Kaiser representing Donna Curling
                                    Halsey Knapp representing Donna Curling
                                    Diane LaRoss representing Brad Raffensperger
                                    Robert Manoso representing Donna Curling
                                    Matthaeus Martino-Weinhardt representing Donna Curling
                                    Robert McGuire representing Coalition for Good Governance
                                    Carey Miller representing Brad Raffensperger
                                    David Oles representing Ricardo Davis
                                    Javier Pico-Prats representing Brad Raffensperger
                                    Vincent Russo representing Brad Raffensperger
                                    Aaron Scheinman representing Donna Curling
                                    Adam Sparks representing Donna Price


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CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?956299780868854...
                         Case 1:17-cv-02989-AT Document 1779 Filed 01/10/24 Page 2 of 2

         PROCEEDING
                                    Bench Trial Continued;
         CATEGORY:
         MINUTE TEXT:               Donna Price sworn and testified. Curling Exhibit 576 admitted. William
                                    Digges sworn and testified. Aileen Nakamura sworn and testified. Ricardo
                                    Davis sworn and testified. Chris Harvey sworn and testified. Curling
                                    Exhibits 30, 72, 100, 102, 253, 392 admitted.
         HEARING STATUS:            Hearing not concluded. Court adjourned and will reconvene at 09:30AM
                                    on Thursday, January 11, 2024.
         TRIAL STATUS:              Evidence Entered, continued
         EXHIBIT STATUS:            Exhibits retained by the Court to be forwarded to the Clerks Office.




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